
25 N.Y.2d 637 (1969)
The People of the State of New York, Appellant,
v.
Young B. Jones, Respondent.
Court of Appeals of the State of New York.
Argued October 6, 1969.
Decided October 30, 1969.
Michael F. Dillon, District Attorney (Judith Blake Manzella of counsel), for appellant.
Bruce K. Carpenter, Robert R. Molic and Leslie A. Bradshaw for respondent.
Concur: Chief Judge FULD and Judges BURKE, BERGAN, BREITEL, JASEN and GIBSON. Judge SCILEPPI dissents and votes to reverse on the dissenting opinion at the Appellate Division.
Order affirmed on the opinion at the Appellate Division.
